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                 EXHIBIT 1
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1                    UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                        SAN FRANCISCO DIVISION
4
5    ___________________________________
6    WAYMO LLC,                                          )
7                       Plaintiff,                       )
8        vs.                                             ) Case No.
9    UBER TECHNOLOGIES, INC.;                            ) 17-cv-00939-WHA
10   OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
11                    Defendants.                        )
     ___________________________________)
12
13    HIGHLY CONFIDENTIAL - OUTSIDE ATTORNEYS' EYES ONLY
14
15       VIDEOTAPED DEPOSITION OF ANGELA L. PADILLA, ESQ.
16                      San Francisco, California
17                        Monday, October, 2017
18                                 Volume I
19
20   Reported by:
21   MARY J. GOFF
22   CSR No. 13427
23   JOB No. 2716665
24
25   PAGES 1-111

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1         Q    Yeah.                                             10:36:19

2         A    I'm sure that they would have done some           10:36:21

3    forensic review of all the electronic information           10:36:23

4    available for forensic collection, forensic review          10:36:29

5    in conjunction with our outside lawyers.                    10:36:34

6         Q    Okay.   Do you have any personal knowledge        10:36:36

7    of what that entity did?                                    10:36:37

8         A    I don't, because that work was delegated          10:36:40

9    and handled by other -- other parts of the legal            10:36:42

10   department.                                                 10:36:46

11        Q    Okay.   Other than retaining this third           10:36:46

12   party, what else was done to -- by Uber to look for         10:37:12

13   and obtain the materials called for by paragraph 4          10:37:21

14   in the order?                                               10:37:25

15             MR. GONZALEZ:    And I would instruct you         10:37:29

16   here -- I would -- to be careful not to disclose            10:37:30

17   privileged information.                                     10:37:33

18        A    Without getting into direct conversations,        10:37:38

19   et cetera, I know that we tasked a large number of          10:37:41

20   outside counsel to help, tasked in-house counsel to         10:37:47

21   help, tasked in-house security teams to help, tasked        10:37:51

22   others in the company who had engineering knowledge         10:37:58

23   and the ability to -- to search.                            10:38:02

24             I'm sure we did a bunch of other things           10:38:10

25   too, but those are -- those are the items that come         10:38:13

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1    to mind right now.                                          10:38:15

2         Q       (BY MR. PERLSON) Okay.                         10:38:16

3         A       And speak to the individuals named here,       10:38:17

4    Anthony, Sameer, Radu.                                      10:38:19

5                 The idea was to -- to leave no stone           10:38:24

6    unturned.     The idea was scorched-earth approach.         10:38:26

7         Q       But you didn't search everywhere -- Uber       10:38:34

8    didn't search everywhere within -- let me start over        10:38:37

9    again.                                                      10:38:41

10                Uber did not search every electronic           10:38:42

11   source of data within Uber in response to the               10:38:44

12   court's March 16 order?      Would you agree with that?     10:38:53

13        A       I don't have a basis to agree or not           10:38:59

14   agree.    I'm sure that what we searched was based on       10:39:01

15   identifying the most likely places where any of this        10:39:06

16   information would -- would be found, if it was there        10:39:13

17   at all.                                                     10:39:16

18        Q       Okay.   What areas were searched               10:39:17

19   specifically?                                               10:39:19

20        A       For that, you would have to ask others on      10:39:20

21   the team or outside counsel and the vendor that             10:39:22

22   helped us.                                                  10:39:26

23        Q       Okay.   You don't -- you don't know that --    10:39:28

24   you don't have any personal knowledge of that               10:39:30

25   yourself?                                                   10:39:32

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